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                                                                         IN CLERK'S OFFICE
UNITED STATES DISTRICT COURT                                       U.S. DISTRICT COURT E.D.N.Y.
EASTERN DISTRICT OF NEW YORK                                       * SEP O5 2023 *
---------------------------X
                                                                   LONG ISLAND OFFICE
UNITED STATES OF AMERICA
                                                           ORDEROFEXCLUDABLE
       - against-                                          DELAY

GEORGE ANTHONY DEVOLDER                                    Docket No. 23-CR-197 (JS)
SANTOS,

                          Defendant.

---------------------------X

               WHEREFORE a joint application by BREON PEACE, United States Attorney for

the Eastern District of New York, by Assistant United States Attorneys Ryan C. Harris, Anthony

Bagnuola, and Laura Zuckerwise, and COREY R. AMUNDSON, Chief of the Public Integrity

Section of the United States Department of Justice, by Trial Attorneys John Taddei and Jacob

Steiner (collectively, the "Government") and defendant GEORGE ANTHONY DEVOLDER

SANTOS, seeks an Order excluding the time period from September 7, 2023 to October 27, 2023,

in computing the time within which trial must commence in the above-captioned matter, and

               WHEREFORE, the Government and the defendant stipulate that they are engaged

in discussions regarding possible paths forward in this matter and that defense counsel is engaged

in the review of voluminous discovery materials and that the parties require an exclusion of time

in order to focus efforts on their discussions, and defense counsel requires an exclusion of time for

review of discovery materials without the risk that they would not, despite their diligence, have

reasonable time for effective preparation for trial, and

               WHEREFORE, the Court finds that the requested exclusion of time serves the ends

of justice and outweighs the best interests of the public and the defendant in a speedy trial the
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exclusion of time will allow all counsel to focus their efforts on those discussions and that review

of material without the risk that they would be denied the reasonable time necessary for effective

preparation for trial, taking into account the exercise of due diligence;

               IT IS ORDERED that the period of time from September 7, 2023 to October 27,

2023, shall be excluded from the computation of time within which trial must commence in the

above-captioned matter.

Dated:     Central Islip, New York
           September j", 2023                                                 /)


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                                              UNITED STATES DISTRICT JUDGE
                                              EASTERN DISTRICT OF NEW YORK
